Case 09-10138-MFW Doc 5270-2 Filed 04/19/11

NOVA SCOTIA

AND
TO:

HER MAJESTY THE QUEEN IN RIGHT OF
THE PROVINCE OF NOVA SCOTIA AS
REPRESENTED BY THE MINISTER OF
FINANCE

P.O. Box 187
1723 Hollis St.
Halifax, Nova Scotia B3J 2N3

Doug Moodie

Email: moodiedj@gov.ns.ca
Tel: 902.424.5720
Fax: 902.424.6635

ONTARIO

AND
TO:

ONTARIO MINISTRY OF FINANCE
Legal Services Branch

6th Floor

33 King Street West

Oshawa, Ontario

L1H 8H5

Kevin O'Hara
Email: kevin.ohara@ontario.ca

Tel: 905.433.6934
Fax: 905.436.4510

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044
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PRINCE EDWARD ISLAND

AND
TO:

HER MAJESTY THE QUEEN IN RIGHT OF
THE PROVINCE OF PRINCE EDWARD
ISLAND AS REPRESENTED BY THE
PROVINCIAL TREASURY

Shaw Building, Ist Floor

95 Rochford Street

PO Box 2000

Charlottetown, PE C1A 7N8

Mary Hennessey

Email: mihennessey@gov.pe.ca
Tel: 902.368.4070
Fax: 902.368.6164

SASKATCHEWAN

AND
TO:

HER MAJESTY THE QUEEN IN RIGHT OF
THE PROVINCE OF SASKATCHEWAN AS
REPRESENTED BY THE MINISTER OF
FINANCE

2350 Albert Street
Regina, Saskatchewan S4P 4A6

Margaret Johannsson, Assistant Deputy Minister

Email: Margaret.johannsson@gov.sk.ca
Tel: 306.787.6685
Fax: 306.787.0241

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FEDERAL

AND
TO:

CANADA REVENUE AGENCY
c/o Department of Justice

Ontario Regional Office

The Exchange Tower, Box 36

130 King Street W., Suite 3400
Toronto, Ontario MSX 1K6

Diane Winters
Email: diane.winters@justice.gc.ca

Tel: 416.973.3172
Fax: 416.973.0810

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BY FAX:

BRITISH COLUMBIA

AND
TO:

HER MAJESTY THE QUEEN IN RIGHT OF
THE PROVINCE OF BRITISH COLUMBIA,
AS REPRESENTED BY THE MINISTER OF
FINANCE, REVENUE DIVISION

3" Floor, 1802 Douglas Street
Victoria, British Columbia V8T 4K6

Michael Ford

Fax: 250.356.0065

QUEBEC

AND
TO:

HER MAJESTY THE QUEEN IN RIGHT OF
THE PROVINCE OF QUEBEC AS
REPRESENTED BY THE MINISTER OF
FINANCE

Ministére des Finances
12, rue Saint-Louis
Québec (Québec) GIR 5L3

Tel: 418.528.9323
Fax: 418.646.1631

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Court File No: 09-CL-7950

ONTARIO
SUPERIOR COURT OF JUSTICE
(COMMERCIAL LIST)

IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT ACT,
RS.C, 1985, c, C-36, AS AMENDED

AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
NORTEL NETWORKS CORPORATION, NORTEL NETWORKS LIMITED, NORTEL
NETWORKS GLOBAL CORPORATION, NORTEL NETWORKS INTERNATIONAL
CORPORATION AND NORTEL NETWORKS TECHNOLOGY CORPORATION

APPLICATION UNDER THE COMPANIES’ CREDITORS ARRANGEMENT ACT,
R.S.C. 1985, ¢. C-36, AS AMENDED

AFFIDAVIT OF GEORGE RIEDEL
Canadian Sales Process Order re. Certain Patents and Other Assets
(sworn April 7, 2011)

I, George Riedel, of the city of Boston in the State of Massachusetts, MAKE OATH
AND SAY:

1, I am the Chief Strategy Officer of Nortel Networks Corporation (“NNC”) and Nortel
Networks Limited (“NNL”) and have held those positions since February, 2006. As
such, I have personal knowledge of the matters to which I hereinafter depose in this
Affidavit. Where I do not possess personal knowledge, I have stated the source of my

information and, in all such cases, believe it to be true.

2. I swear this Affidavit in support of the motion for an order or orders to approve the relief
fully set out in the draft order included in the Motion Record herein, which includes,

among other things,

(a) the Bidding Procedures (as defined below);

(b) an asset sale agreement dated as of April 4, 2011 (the “Stalking Horse

Agreement”) among:

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(c)

(d)

(c)

(i) | Ranger Inc. as purchaser (the “Stalking Horse Purchaser’’);

(ii) © NNC, NNL, Nortel Networks Inc. (“NNI”), Nortel Networks UK Limited
(in administration) (‘“NNUK”), Nortel Networks (Ireland) Limited (in
administration), Nortel Networks S.A. (in administration and liquidation
judiciare)(‘““NNSA”), Nortel Networks France S.A.S. (in administration)
and Nortel GmbH (in administration), the other entities identified therein
as sellers, Alan Bloom, Stephen Harris, Alan Hudson, David Hughes and
Christopher Hill as Joint Administrators, and Maitre Cosme Rogeau as

French Liquidator (collectively, the “Sellers”), and
(111) Google Inc., as guarantor,

as a “stalking horse” sale agreement, including the Bid Protections (as defined
below) provided for therein. A copy of the Stalking Horse Agreement (without
exhibits or schedules) will be attached as an appendix to the sixty-third report
(the “Sixty-Third Report”) of the Monitor (as defined below) to be filed in

connection with this motion;

certain License Rejection Procedures (as defined below);

a side agreement dated as of April 4, 2011 among the Sellers (the “Side
Agreement”). A copy of the Side Agreement will be attached as a confidential

appendix to the Sixty-Third Report; and

the sealing of certain confidential appendices to the Sixty-Third Report and
confidential exhibits to one or more affidavits of service (the “Service
Affidavits”).

This affidavit is also sworn in support of the motion for the Canadian Approval and

Vesting Order referred to below.

References to “Nortel” herein are references to the global enterprise of NNC, NNL, NNI

and their respective affiliates as a whole.

All dollar references are US$ unless otherwise indicated.

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BACKGROUND

10.

On January 14, 2009 (the “Filing Date”), NNC, NNL, Nortel Networks Technology
Corporation, Nortel Networks Global Corporation and Nortel Networks International
Corporation (collectively, the “Applicants”) were granted protection under the
Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C-36, as amended (the
“CCAA”) pursuant to an initial order (as subsequently amended and restated, the “Initial
Order’) of this Honourable Court and Ernst & Young Inc. was appointed as monitor (the

“Monitor”) in the CCAA proceedings.

Also on January 14, 2009, certain of NNC’s U.S. subsidiaries, including its principal U.S.
operating subsidiary NNI (together with the other U.S. filing entities, the “U.S.
Debtors”), made voluntary filings in the United States Bankruptcy Court for the District
of Delaware (the “U.S. Court”) under Chapter 11 of the United States Bankruptcy Code
(the “Code”)(such proceedings, the “U.S. Proceedings”). On the same date, this
Honourable Court granted an Order pursuant to Section 18.6(4) of the CCAA recognizing
the Chapter 11 cases as “foreign proceedings” in Canada and giving effect in Canada to

the automatic stay under the Code.

Additionally, on January 15, 2009, NNUK and certain subsidiaries of the Nortel group
incorporated in Europe, the Middle East or Africa (“EMEA”) each obtained an
administration order for the appointment of administrators from the English High Court

of Justice under the Insolvency Act 1986.

On February 27, 2009, the U.S. Court granted petitions recognizing the CCAA

proceedings as “foreign main proceedings” pursuant to Chapter 15 of the Code.

On May 28, 2009, the Commercial Court of Versailles, France (the “French Court”)
ordered the commencement of secondary insolvency proceedings in respect of NNSA,
which consist of liquidation proceedings during which NNSA was originally authorized
to continue to operate as a going concern for an initial period of three months which
period was subsequently extended. On October 1, 2009, the French Court approved an
order to (i) suspend the liquidation operation relating to the sale of the assets and/or

business of NNSA for a renewal period of two months; and (ii) authorize the continuation

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of the business of NNSA so long as the liquidation operations are suspended; and (iii)
maintain the powers of the French administrator and liquidator during that period except
with respect to the sale of assets and/or businesses of NNSA. In accordance with the
European Union’s Counsel Regulation, the English law proceedings remain the main

proceedings in respect of NNSA.

On June 8, 2009, the Joint Administrators appointed in respect of NNUK filed a petition
with the U.S. Court for the recognition of the Administration Proceedings as they relate
to NNUK (the “English Proceedings”) under Chapter 15 of the Code. On June 26, 2009,
the U.S. Court entered an order recognizing the English Proceedings as foreign main

proceedings under Chapter 15 of the Code.

On July 14, 2009, Nortel Networks (CALA) Inc. made a voluntary filing with the U.S.
Court under Chapter 11 of the Code.

Further details regarding the background to these proceedings are set out in the affidavit
of John Doolittle sworn January 14, 2009 previously filed in these proceedings and are

therefore not repeated herein.

The Applicants have previously obtained various relief related to the sale of certain other
assets relating to their business units including Nortel’s Layer 4-7 Application Delivery
business, CDMA and LTE related assets, Enterprise Solutions business, Optical
Networking and Carrier Ethernet businesses (associated with its Metro Ethernet
Networks Business), Carrier Voice Over IP and Application Solutions business,
GSM/GSM-R business and Multi-Service Switch business. NNL has also sold, among
other assets, its “Westwinds Facility” in Alberta, its interest in its joint venture with LG

Electronics Inc., and real property in Ottawa, Ontario known as the Carling Campus.

THE TRANSACTION

15.

Capitalized terms used in this section of my Affidavit and not otherwise defined herein

shall have the meanings given to them in the Stalking Horse Agreement.

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The Assets

16,

At this time, Nortel’s residual patent assets are one of Nortel’s largest remaining assets.
The Stalking Horse Agreement contemplates the sale of approximately 6,000 Canadian,
U.S. and foreign patents and patent applications spanning wireless, wireless 4G, data
networking, optical, voice, internet, service provider, semiconductors and other patent
portfolios. The extensive patent portfolio touches nearly every aspect of
telecommunications and additional markets as well, including Internet search and social

networking.

Previous Marketing Efforts

17.

18.

19.

Nortel first began to solicit interest in a divestiture of its patent assets in May 2010. In

connection with this initial effort:

(a) Nortel, in consultation with its financial advisors, engaged in discussions with
approximately one hundred and five (105) parties likely to be interested and able
to acquire the patent assets, including a mix of financial investors and strategic

buyers;

(b) a teaser intended to pique interest in the Assets was sent to approximately ninety-

five (95) entities; and

(c) forty (40) companies who executed confidentiality agreements were given access
to an electronic data room containing confidential diligence materials regarding

the Assets.

During the solicitation process, Nortel management also gave several presentations to

interested parties.

I am aware that the Sixty-Third Report will also include information regarding Nortel’s

sale efforts in this regard.

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The Stalking Horse Agreement!

20.

After extensive arm’s-length, good faith negotiations among the Sellers and the Stalking

Horse Purchaser and their respective advisors, the Sellers have agreed, among other

things, to convey the Assets in accordance with the terms and conditions of the Stalking

Horse Agreement, subject to certain Court approvals including this Honourable Court and

the U.S. Court. The Applicants have determined that the Stalking Horse Agreement

represents the best opportunity for the Applicants to maximize the value of the Purchased

Assets by serving as a basis for conducting an auction to seek higher and/or better offers.

The Stalking Horse Agreement contemplates the sale of the Assets, subject to higher

and/or better bids, on the following material terms:

(a)

(b)

(Cc)

(d)

Purchase Price. The Stalking Horse Purchaser will pay to the Sellers, through
their Distribution Agent, a purchase price of $900 million in cash, which includes
$45 million to be held in escrow to secure indemnity obligations of the Sellers as

further discussed below (Stalking Horse Agreement §§ 2.2.1 and 2.3.2);

Certain Fees. As further described below, in certain circumstances the Sellers
may be required to pay to the Stalking Horse Purchaser a Break-Up Fee and/or an
Expense Reimbursement (Stalking Horse Agreement § 8.2) ;

Good Faith Deposit. No later than three (3) Business Days following the later of
the entry of the Order sought in the within motion and the entry of the U.S.
Debtors’ Bidding Procedures Order, the Stalking Horse Purchaser will deliver to
the Escrow Agent a good faith deposit in the amount of $27 million in cash. The
good faith deposit will be applied to the Purchase Price to be paid by the Stalking
Horse Purchaser at Closing (Stalking Horse Agreement § 2.2.2);

Assets Sale Free and Clear. The Assets to be acquired by the Stalking Horse
Purchaser include, among other things, the Sellers’ right, title and interest in (i)
the Transferred Patents and Purchased Specified UK Patents, subject to certain

licenses granted thereunder, (ii) certain Patent Related Documentation and (iii) the

' To the extent there are inconsistencies between any summary of the Stalking Horse Agreement contained herein
and the terms and conditions of the Stalking Horse Agreement, the terms and conditions of the Stalking Horse
Agreement shall control.

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(c)

(f)

(g)

(h)

Sellers’ rights under certain patent-related data applications. The Assets to be
transferred by the Sellers will be transferred free and clear of all claims and
interests other than those expressly assumed by the Stalking Horse Purchaser or
otherwise expressly permitted under the Stalking Horse Agreement (Stalking

Horse Agreement § 2.1.1);

Assumed Liabilities. The liabilities to be assumed by the Stalking Horse
Purchaser include, among others, (i) all Liabilities with respect to the ownership
or exploitation of the Assets by or through the Stalking Horse Purchaser arising
after the Closing Date, (ii) all Liabilities arising from or in connection with the
performance of the Assigned Contracts (or breach thereof), if any, after the
Closing Date and (iii) all Liabilities for any Tax that the Stalking Horse Purchaser
bears under Article VI of the Stalking Horse Agreement other than pursuant to
Section 6.9(a) thereof (Stalking Horse Agreement § 2.1.3);

License to the Transferred Patents. Concurrently with the Closing, the Stalking
Horse Purchaser shall grant to the Sellers a license under the Transferred Patents,
the Purchased Specified UK Patents and certain other patents acquired under the
Stalking Horse Agreement (Stalking Horse Agreement § 5.13);

Undisclosed Patents. Concurrently with the Closing, the Sellers shall grant the
Stalking Horse Purchaser and its Affiliates a license under the Licensed Residual
Patents pursuant to the terms of the Closing Date License Agreement. Upon the
Sellers’ discovery of any Undisclosed Patent Interest, the Stalking Horse
Purchaser shall have an option to purchase the Undisclosed Patent Interest at a
price of $50,000. Prior to the Sellers’ anticipated dissolution or winding up, the
Stalking Horse Purchaser will have an option to purchase any remaining
Undisclosed Patent Interests on a quitclaim basis for a price of $1.00 (Stalking
Horse Agreement §§ 5.13 and 5.19);

License Rejections and Terminations. As further discussed below, the Stalking
Horse Purchaser has agreed to take the Assets subject to all Commercial Licenses,
certain Intercompany Licenses and all licenses under known Outbound License

Agreements and Cross-License Agreements, and the Applicants have agreed to

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terminate Unknown Licenses (as defined below) in accordance with the
procedures described below. The Sellers also have agreed to terminate certain

intercompany patent license rights (Stalking Horse Agreement § 5.13(b);

(i) Ongoing Covenants and Restrictions: In addition to certain other obligations, the
Sellers have agreed to reasonably cooperate with the Stalking Horse Purchaser to
provide the Stalking Horse Purchaser the benefit of Assets that cannot be
transferred at Closing, including by granting a royalty free, perpetual, exclusive
(subject to pre-existing licenses), transferrable license under such patents

(Stalking Horse Agreement § 2.1.8);

(j) License Non-Assignment and Non-Renewal Protections. In furtherance of the
sale, the Applicants agree under paragraph 14 of the agreed form of Approval and
Vesting Order to (i) limit or refrain from exercising any rights that they may have
to renew, extend, assign, amend, waive or modify any rights under various
agreements containing licenses absent the Stalking Horse Purchaser’s consent in
its sole and absolute discretion, and (ii) grant the Stalking Horse Purchaser a
power of attorney. The Stalking Horse Purchaser has provided an indemnity
related to its exercise of the power of attorney. The Licenses Non-Assignment
and Non-Renewal Protections are discussed in further detail below (Stalking

Horse Agreement §§ 10.1);

(k) | Maintenance of Books and Records. After the Closing, the Sellers generally shall
preserve until the third (3rd) anniversary of the Closing Date (or such longer
period as may be required by applicable law) all pre-Closing Date records relating

to the Assets, subject to certain limitations (Stalking Horse Agreement § 5.24);

() Restrictions on Solicitation of Competing Bids and other Transactions. The
Sellers agree that they will not, until the entry of the Canadian Sales Process Order
and the U.S. Debtors Bidding Procedures Order, initiate, solicit, encourage or
induce the submission or announcement of any offer for an Alternative
Transaction or enter into any negotiations or execute any agreements for an
Alternative Transaction. During this period, the Sellers continue to be able to

negotiate and execute non-disclosure agreements, and from and after April 18,

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2011, may provide access to the Data Room to Persons who have entered into
non-disclosure agreements with the Primary Seller Parties. From and after the
entry of the Canadian Sales Process Order, the Sellers agree not to affirmatively
take any material steps in furtherance of an Asset Retention Transaction, provided
that the Sellers may consider an Alternative Transaction as part of an auction
process under the Bidding Procedures (Stalking Horse Agreement §§ 5.5(d),
5.26);

(m) Closing Conditions. In addition to certain other customary closing conditions,
including conditions relating to bankruptcy court approvals and regulatory
approvals, the obligation of the Stalking Horse Purchaser to close the sale is
subject to the satisfaction of the performance in all material respects of all material
covenants, obligations and agreements required to be performed by the Sellers on

or before the Closing (Stalking Horse Agreement § 7.3);

(n) Indemnity. On the Closing Date, $45 million of the Purchase Price will be placed
in an escrow account to secure an indemnity provided by the Sellers for certain
breaches of the Stalking Horse Agreement (Stalking Horse Agreement Article IX,
§ 2.3.2).

Break Up Fee and Expense Reimbursement

21.

22.

The Stalking Horse Purchaser and its advisors have expended, and likely will continue to
expend, considerable time, energy and resources pursuing the purchase of the Assets and
have engaged in extended, good faith negotiations with the Sellers to facilitate such

transaction. The Stalking Horse Agreement is the culmination of these efforts.

In recognition of this expenditure of time, energy, and resources, the Sellers, in
accordance with section 8.2 of the Stalking Horse Agreement and upon the termination
events described therein, have agreed to pay the Stalking Horse Purchaser an aggregate
fee of twenty-five million dollars and 00/100 ($25,000,000), which break-up fee is equal
to approximately two and eight-tenths percent (2.8%) of the estimated aggregate
Purchase Price (the “Break-Up Fee”). In accordance with section 8.2 of the Stalking

Horse Agreement and upon the termination events described therein, the Sellers also have

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agreed to pay the Stalking Horse Purchaser’s reasonable and documented out-of-pocket
costs and expenses in connection with the preparation, execution and performance of the
Stalking Horse Agreement, which shall not exceed four million dollars and 00/100
($4,000,000), which is equal to approximately four-tenths of one percent (0.4%) of the
estimated aggregate Purchase Price (the “Expense Reimbursement,” and together with

the Break-Up Fee, the “Bid Protections”).

I am aware that the Sixty-Third Report will contain more detail with respect to the Bid

Protections including outlining the circumstances in which they may become payable.

Except in the event of actual fraud by the Sellers, the Stalking Horse Purchaser’s
monetary remedies against the Sellers for pre-Closing breaches of the Stalking Horse
Agreement are capped at twenty-nine million dollars and 00/100 ($29,000,000), which is
equal to the amount of the Expense Reimbursement and the Break-Up Fee payable by the
Sellers under the Stalking Horse Agreement. The Break-Up Fee and the Expense

Reimbursement are not remedies for any post-Closing breach by the Sellers.

License Rejection Procedures

25.

26.

As a condition to the proposed transaction, the Applicants in these proceedings and the
U.S. Debtors in the U.S. Proceedings have both agreed to implement a process for the

rejection or termination of Unknown Licenses.

As described in the Stalking Horse Agreement, the Applicants have informed the
Stalking Horse Purchaser that they do not believe that there are any Contracts pursuant to
which the Applicants grant licenses under the Transferred Patents, the Jointly Owned
Patents or the Specified UK Patents, which licenses are in force, and to which the

Applicants are a party other than:

(a) the Outbound License Agreements listed in Schedule A.I(e) of the Sellers
Disclosure Schedule and the Cross-License Agreements listed in Schedule A.I(d)

of the Sellers Disclosure Schedule (collectively, the “Known Licenses”),

(b) — the Commercial Licenses, and

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(c) license rights with respect to the Transferred Patents, Specified UK Patents or
Jointly Owned Patents granted under certain intercompany contracts,

arrangements or understandings to which the Applicants are a party.

Nevertheless, in view of the potential impact of continuing licenses on the value of the
Sellers’ patent assets, the Applicants have agreed in furtherance of the sale of the
Purchased Assets to reject, pursuant to certain agreed upon procedures as set out in the
proposed Canadian Sales Process Order and described below, effective as of and
conditioned on the occurrence of the Closing, any pre-filing Contract pursuant to which
any Applicant is a party and pursuant to which such Applicant grants a license under the
Transferred Patents, Specified UK Patents or Jointly Owned Patents, other than (i) the
Known Licenses, (ii) the Commercial Licenses, (iii) the Disclosed Intercompany
Licenses, and (iv) any intercompany contract, arrangement or understanding that is not a
Disclosed Intercompany License but that is in effect and that is similar in kind to the
Disclosed Intercompany Licenses (it being understood that any such intercompany
contract, arrangement or understanding that grants license rights to the Transferred
Patents, Specified UK Patents or Jointly Owned Patents that is broader in scope or longer
in duration than the broadest license or longest license to such patents granted under any
of the Disclosed Intercompany Licenses is not similar in kind to the Disclosed

Intercompany Licenses).

The Applicants propose the following procedures with respect to the rejection of

Unknown Licenses (as defined below) (the “Canadian License Rejection Procedures”):

(a) in conjunction and coordination with the equivalent US license rejection
procedures, the Applicants (or another a person on behalf of the Applicants) shall
serve on each counterparty to a Known License (such counterparties, collectively,
the “Known Licensees”) a notice substantially in the form that will be attached as
an appendix to the Sixty-Third Report (the “Known License Notice”), identifying
the Known Licenses that such counterparty has with the Applicants. The Known
License Notices shall be served by the Applicants (or another person on behalf of
the Applicants) by no later than five (5) Business Days following the entry of the

Canadian Sales Process Order or as soon thereafter as is reasonably practicable.

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(b) — the Applicants (or another person on behalf of the Applicants) shall publish a
notice (the “Published License Notice”) of the Canadian License Rejection
Procedures described in this paragraph 27, substantially in the form that will be
attached as an appendix to the Sixty-Third Report, in The Wall Street Journal
(National Edition), The Globe and Mail (National Edition), The Financial Times
(International Edition) and The New York Times (National Edition) within five
(5) Business Days of entry of the Canadian Sales Process Order or as soon

thereafter as is reasonably practicable.

(c) any counterparty to any pre-filing Contract pursuant to which any Applicant is a
party and pursuant to which such Applicant has granted a license under any
Transferred Patents, Specified UK Patents or Jointly Owned Patents, other than (1)
the Known Licenses, (ii) the Commercial Licenses, (iii) the Disclosed
Intercompany Licenses (as defined in the Stalking Horse Agreement) and (iv) any
intercompany contract, arrangement or understanding that is not a Disclosed
Intercompany License but that is in effect and that is similar in kind to the
Disclosed Intercompany Licenses (it being understood that any such intercompany
contract, arrangement or understanding that grants license rights under the
Transferred Patents, Specified UK Patents or Jointly Owned Patents that is
broader in scope or longer in duration than the broadest license or longest license
to such patents granted under any of the Disclosed Intercompany Licenses is not
similar in kind to the Disclosed Intercompany Licenses) (any such licenses,
collectively, the “Unknown Licenses”) who wishes to assert an Unknown License
must serve an objection notice substantially in the form that will be attached as an
appendix to the Sixty-Third Report (an “Objection Notice”) on the parties listed
on Schedule “B” thereto (the “License Objection Notice Parties’’), prior to 4 p.m
(ET) on June 6, 2011 (the “Canadian License Bar Date’). The Monitor has
advised that it intends to post the form of Objection Notice on its website within

two (2) Business Days of the entry of the proposed Canadian Sales Process Order.

(d) without prejudice, as between the Sellers and the Stalking Horse Purchaser, to the
rights of the Stalking Horse Purchaser under the Stalking Horse Agreement, to the
extent that a party asserts an Unknown License prior to the 4:00 p.m. (ET) on the

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(c)

(f)

(g)

Canadian License Bar Date (and if so asserted, an “Additional License”), the
Assets shall only be sold subject to such Additional License, provided however
that the validity of the Additional License has been established by Court Order

prior to Closing.

except as provided for in subparagraph (d) above, all Unknown Licenses to which
the Applicants are a party are deemed to be terminated as of the Closing and shall
forever be barred, released and extinguished, and any claim arising from such
deemed termination shall be a claim against the Applicants, which claim shall be
deemed to be a Restructuring Claim as such term is defined in the Claims
Procedure Order granted by this Court on July 30, 2009, as amended from time to
time, (the “Claims Procedure Order”) and must be filed within thirty (30) days of

the date of Closing and otherwise in compliance with the Claims Procedure Order.

subject to the consent of the Stalking Horse Purchaser, in its sole and absolute
discretion, or any other Successful Bidder, as applicable, the Applicants reserve
their right to not terminate an Unknown License at any time prior to the

occurrence of the Closing.

a counterparty seeking to retain rights under an Unknown License with both the
U.S. Debtors and the Applicants that is subject to rejection and termination under
the Canadian License Rejection Procedures must (i) file and serve an Objection
Notice; and (ii) elect to retain its license rights in accordance with the procedures
contained in the motion of the U.S. Debtors for the granting of the U.S. Bidding
Procedures Order, respectively. Such a counterparty may not attempt to retain

license rights in one jurisdiction and terminate such license rights in the other.

License Non-Assignment and Non-Renewal Protections

29.

In view of the potential impact of continuing licenses on the value of the Sellers’ patent

assets, the Applicants also have agreed in furtherance of the Sale to various limitations

and prohibitions on their rights to renew, extend, assign, amend, waive or modify

contracts containing licenses to the patents offered for sale.

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These prohibitions, which are set forth in full in paragraph 14 of the proposed Approval
and Vesting Order (which is attached as Exhibit “A” hereto), apply to Outbound License
Agreements, Cross License Agreements, Commercial Licenses, intercompany contracts
among the Sellers and their affiliates and certain agreements entered into in connection

with the post-petition divestiture of Nortel’s business units, and include:

(a) the deemed non-consent by the Applicants to requests to amend or modify these
agreements in manners that would have the practical effect of expanding the scope
or term of the licenses to the patents to be transferred to the Stalking Horse

Purchaser pursuant to the Stalking Horse Agreement;

(b) — the deemed non-consent by the Applicants to the assignment of certain of these

agreements by the counterparties thereto to third parties;
(c) restrictions on the Applicants’ ability to assign such contracts; and

(d) a power of attorney for the Stalking Horse Purchaser to enforce these protections
and terminate the Outbound License Agreements and Cross License Agreements
upon the occurrence of events, dates or circumstances entitling the Applicants to

terminate such licenses pursuant to the terms of such license.

SERVICE PROCEDURES

31.

32.

In addition to the standard process for service of motions within these proceedings, I am
advised by Jennifer Stam of Ogilvy Renault LLP that the Applicants intend to serve
notice of this motion as well as the motion for the Approval and Vesting Order on a
number of additional parties including: (a) all registrants of Personal Property Security
Act (“PPSA”) financing statements based on the Applicants’ PPSA searches; (b) federal
tax authorities and provincial tax authorities; (c) known Nortel affiliates; and (d) post-
filing purchasers of Nortel business units (to the extent their counsel is not already on the

Service List).

In connection with such service efforts, I am further advised by Ms. Stam that the
Applicants (or another person on behalf of the Applicants) will send a notice of sale

substantially in the form that will be attached as an appendix to the Sixty-Third Report

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(the “Notice of Sale”) to additional parties as contemplated by the Canadian Sales
Process Order within five (5) Business Days of the granting of the Order. Those parties
will include: (a) all parties who receive notice of the Canadian Sales Process Order
Motion and Canadian Approval and Vesting Order Motion; (b) known owners of Jointly
Owned Patents; and (c) certain other parties as the Stalking Horse Purchaser and the

Sellers may reasonably agree (collectively, the “Additional Service Parties”),

Lastly, as set out above, the Applicants (in coordination with the U.S. Debtors) intend to
publish the Publication Notice substantially in the form that will be attached as an
appendix to the Sixty-Third Report and serve the Known License Notice as contemplated

by the Canadian License Rejection Procedures.

These additional service efforts are being taken for the sake of ensuring adequate notice
of the relief being requested. I believe that the service of the Additional Service Parties
along with the publishing of the Publication Notice is fair, reasonable and adequate in the

circumstances.

THE SALE AND BID PROCESS

35.

36.

37.

In connection with having entered into the Stalking Horse Agreement and subject to
approvals by the U.S. Court and this Honourable Court, Nortel will conduct an auction
process for the sale of the Assets to ensure that the Sellers receive the maximum value for
the Assets and the Sellers and the Stalking Horse Purchaser have agreed that, in
accordance with the provisions of the Bidding Procedures and the Canadian Sales Process

Order, the Stalking Horse Agreement is subject to higher or better offers.

It is anticipated that if the U.S. Debtors’ Bidding Procedures Order and the Canadian
Sales Process Orders are granted, Nortel will conduct an expedited sale process and
follow the bidding procedures in the form attached to the proposed Canadian Sales
Process Order (the “Bidding Procedures”) with a view to ultimately conducting an

auction.

An agreed upon set of Bidding Procedures have been developed, which provide for a

process through which an interested party may become a “Qualified Bidder”. Bids from

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Qualified Bidders must be submitted no later than June 13, 2011. The auction is
scheduled to take place at the offices of Cleary Gottlieb Steen & Hamilton LLP in New
York City at 9:00 a.m. (ET) on June 20, 2011 or such other location as the Sellers may

designate prior to the auction.

I am aware that the Sixty-Third Report will attach and outline the proposed sale process
and the Bidding Procedures in more detail. I have reviewed the Bidding Procedures and

believe them to be fair in the circumstances.

SIDE AGREEMENT

39,

In connection with the entry into the Stalking Horse Agreement, the Applicants and
certain of the other Sellers have negotiated and executed the Side Agreement, to address
certain issues among such parties relating to the transaction contemplated by the Stalking
Horse Agreement, including the allocation of certain costs incurred or that may
potentially be incurred as part of the proposed transaction with the Stalking Horse
Purchaser or other Successful Bidder. The Side Agreement also makes clear the Sellers’
understanding that complying with their obligations under Section 5.13(b) of the Stalking
Horse Agreement will not have any impact, positive or negative, on the rights of the
Sellers with respect to the allocation of the proceeds of the Sale or the proceeds of any
other transaction. I am aware that a copy of the Side Agreement will be attached as a

confidential appendix to the Sixty-Third Report.

US PROCEEDINGS

40.

The U.S. Debtors who are Sellers subject to the U.S. Proceedings are seeking approval
from the U.S. Court of certain of the relief sought in this Motion. The Applicants and the
U.S. Debtors are requesting their respective Court approval pursuant to a joint hearing
between the U.S. Court and this Honourable Court. The Applicants and the U.S. Debtors
also intend to seck approval of the final sale of the Assets as part of a joint hearing
between this Honourable Court and the U.S. Court. The Applicants (or the Monitor as
foreign representative of the Applicants in their Chapter 15 proceedings) may seek
recognition of the orders of this Honourable Court approving the sale from the U.S.

Court.

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SEALING

41.

42.

43.

I am aware that the Monitor has or will be filing confidential appendices to the Sixty-
Third Report which contain the disclosure schedules and exhibits to the Stalking Horse
Agreement as well as the Side Agreement. The disclosure schedules and exhibits contain
sensitive competitive, commercial and, in some instances, personal information,
including lists of the Transferred Patents and licensees to such patents. Disclosure of this
confidential information would be damaging to the Applicants and the other Sellers and
any Successful Bidder if it is disclosed to their competitors. The filing of the disclosure
schedules and exhibits to the Stalking Horse Agreement under seal is in the best interests
of the Applicants and their estates, creditors and all other interested parties herein. The

Side Agreement contains sensitive information relating to certain inter-estate matters.

Further, the confidential exhibits to the Service Affidavits will contain a list of the
Known Licensees and information related to their service of the materials. This

information is commercially sensitive and confidential.

I believe sealing these confidential appendices and confidential exhibits to the Service

Affidavits is appropriate in the circumstances.

CONCLUSION

44,

45.

I believe that the Canadian License Rejection Procedures and the License Non-
Assignment and Non-Renewal Protections are beneficial to the Applicants’ ability to
realize the full value of the Assets through this sale process, as the procedures provide
comfort to the Stalking Horse Purchaser or other Successful Bidder as to the scope and
duration of licenses and other agreements that presently encumber and will continue to
encumber the Assets they are purchasing. | believe that the proposed process for the
termination of the Unknown Licenses will give comfort to the Stalking Horse Purchaser
that there are not material unidentified encumbrances on the Assets and is therefore fair

and reasonable in the circumstances.

I believe that the Stalking Horse Agreement is the product of a vigorous, comprehensive

and fair process.

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46. Based on the Applicants’ previous consideration off potential transactions involving the

Assets, I believe that the proposed transaction with the Stalking Horse Purchaser

represents the highest and best proposal available for the Assets, subject to the receipt of

higher or better offers through the auction process contemplated in this motion.

47, The Stalking Horse Agreement requires an expeditious sale process and provides the
Stalking Horse Purchaser the right to terminate the Stalking Horse Agreement if certain
milestones in the sale process are not timely met, For these reasons, the expeditious sale
of the Assets is critical to the maximization of the value of the Applicants’ assets and, in

turn, to a recovery for the Applicants’ estates

SWORN BEFORE ME at the City of
Boston, in the State of Massachusetts
on this 7th day of April, 2011.

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Notary Public ”

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Ee
IN THE MATTER OF THE COMPANIES’ CREDITORS ARRANGEMENT kee ae

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AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
NORTEL NETWORKS CORPORATION, NORTEL NETWORKS LIMITED,

NORTEL NETWORKS GLOBAL CORPORATIC
INTERNATIONAL CORPORATION AND NORTEL
CORPORATION

APPLICATION UNDER THE COMPANIES’ CREDI
R.S.C. 1985, c. C-36, AS AME

APPROVAL AND VESTING (
(Certain Patents and Other 4

THIS MOTION, made by Nortel Networks Corp
Limited (“NNL”), Nortel Networks Technology Corp
Corporation and Nortel Networks International Corporation
the relief set out in the Notice of Motion dated @ @,
transaction (the “Transaction”} pursuant to an asset sale agr

“Sale Agreement”) among NNC, NNL, Nortel Networks in

administration), Nortel Networks (Ireland) Limited (in admis

administration and liquidation judiciaire), Nortel Networks F
Nortel GmbH (in administration), the other entities identifie
“Sellers”), Alan Bloom, Stephen Harris, Alan Hudson, Da

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ORDER
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oration (“NNC”)}, Nortel Networks
oration, Nortel Networks Global
(collectively, the “Applicants”) for
2011, including the approval of a
cement dated as of MM, 2011 (the
c., Nortel Networks UK Limited (in
nistration), Nortel Networks 8.A. (in
‘rance S.A.S, (in administration) and
d therein as sellers (collectively, the
vid Hughes and Christopher Hill as
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Joint Administrators, and Maitre Cosme Rogeau as French Liquidator and Ranger Inc., as
purchaser (the “Purchaser’) and Google Inc., as guarantor for the sale (the “Sale”) of the Assets

to the Purchaser, was heard this day at 393 University Avenue, Toronto, Ontario.

ON READING the affidavit of @ sworn M@ @, 2011 (the “0 Affidavit”) and the Ml report
of Emst & Young Inc. in its capacity as monitor (the “Monitor’) dated M M@, 2011 (the “@
Report”) and on hearing the submissions of counsel for the Applicants, the Monitor and those
other parties present, no one appearing for any other person on the service list although properly
served as appears from the affidavit of Ml sworn Ml @, 2011 (the “Service Affidavit”), filed:

Service
1, THIS COURT ORDERS that the time for the service of the Notice of Motion, the @

Affidavit, the ll Report and/or the Motion Record be and is hereby validated and abridged so that
this Motion is properly returnable today and hereby dispenses with further service thereof.

Interpretation
2. THIS COURT ORDERS AND DECLARES that

(a) capitalized terms used herein and not otherwise defined shall have the meanings

given to them in the Sale Agreement; and

(b) “Initial Order” means the Order of the Honourable Justice Morawetz dated
January 14, 2009, as amended and restated.

The Transaction

3, THIS COURT ORDERS AND DECLARES that the Transaction is hereby approved.
Subject to approval of the Sale Agreement by the United States Bankruptcy Court for the District
of Delaware in the Chapter 11 Proceedings of the Chapter 11 Debtors, the execution, delivery
and performance of the Sale Agreement and the other Transaction Documents by the Applicants
is hereby authorized and approved, and the Applicants are hereby authorized and directed to take
such additional steps and execute such additional documents as may be necessary or desirable for

the completion of the Transaction and for the conveyance of the Applicants’ right, title and

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interest in and to the Assets to the Purchaser in accordance with the provisions of the Sale
Agreement (including, the licenses under the Jointly Owned Patents, the Specified UK Patents,
the Undisclosed Patent Interests and any other Patents granted by one or more of the Applicants
to the Purchaser pursuant to the Sale Agreement and, effective upon receipt by the Sellers or any
successor or assign or any receiver, trustee or liquidator appointed in respect of a Seller (or its
Property as defined in the Initial Order) of the applicable Exercise Price pursuant to Section 5.19
of the Sale Agreement, any Undisclosed Patent Interests, together with all the other Assets,

collectively the “Purchased Assets’).

4, THIS COURT ORDERS AND DECLARES that without limiting the generality of the
foregoing, the following documents are hereby approved and the Applicants party thereto are
hereby authorized and directed to perform and comply with their respective obligations

thereunder:

(a) Closing Date License Agreement substantially in the form attached as Appendix
@ to the @ Report; and

(6) the Escrow Agreement substantially in the form attached as Appendix ™@ to the #
Report.

5. THIS COURT ORDERS AND DECLARES that the Applicants are authorized and
directed to perform their respective obligations under the Sale Agreement and each of the

Transaction Documents.

6. THIS COURT ORDERS AND DECLARES thai upon the delivery of a Monitor’s
certificate to the Purchaser substantially in the form attached as Schedule “A” hereto (the
“Monitor’s Certificate”), all of the Applicants’ right, title and interest in and to the Purchased
Assets (except any Undisclosed Patent Interests for which the Purchaser pays the Exercise Price
after Closing, in which case the provisions of the balance of this paragraph shall be effective
upon receipt by the Sellers or a successor or assign or any receiver, trustee or liquidator
appointed in respect of such Seller (or its Property) of the applicable Exercise Price pursuant to
Section 5.19 of the Sale Agreement for the applicable Undisclosed Patent Interest) shall vest

absolutely in the Purchaser free and clear of and from:

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(a) any and all liens, claims and interests, including, without limitation, all security
interests, hypothecs, mortgages, pledges, deeds of trust, trusts or deemed trusts,
executions, levies, charges, or other financial or monetary claims, charges, rights
of first refusal, encumbrances, restrictive covenants, rights of offset or
recoupment, leases or conditional sale arrangements, debts, liabilities, obligations,
contractual rights and claims and rights or causes of action, obligations, demands,

restrictions, consent rights, options and indemnities; and

(b) claims and interests of any nature or kind of employees, consultants or agents or
former employees, consultants or agents, of any of the Applicants arising out of
the alleged invalidity, unenforceability or irregularity on any grounds of any of
their assignments, transfers or waivers to or in favour of any of the Applicants,
whether express or implied or by operation of contract, law or otherwise, of any

or all of their right, title and interest in any of the Purchased Assets,

in each case, whether or not they have attached or been perfected, registered or filed, whether
secured, unsecured or otherwise, arising prior to or subsequent to the date of the Initial Order but
prior to Closing, whether imposed by agreement, understanding, law, statute, equity or otherwise
and whether allowed or disallowed, contingent or non-contingent, liquidated or unliquidated,
matured or un-matured, material or non-material, disputed or undisputed, whether asserted prior
to or after Closing, (collectively, the “(Claims”) including, for the avoidance of doubt: (i) any
encumbrances or charges created by any of the Orders made in these proceedings including the
Initial Order; and (ii) all charges, security interests or claims evidenced by registrations pursuant
to the Personal Property Security Act (Ontario) or any other personal property registry system
(all of which, together with Liens and Claims in the CCAA Cases, are collectively referred to as
the “Encumbrances”, provided however that “Encumbrances” shall not include Permitted
Encumbrances (other than those specifically contemplated to be discharged by virtue of this
Order), Liens created by or through the Purchaser or any of its Affiliates, and Assumed
Liabilities or as otherwise set forth Section 2.1.1(a) of the Sale Agreement and Section 5.21 of
the Sale Agreement. For greater certainty, all of the Encumbrances affecting or relating to the
Purchased Assets are hereby expunged and discharged as against the Purchased Assets.

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THIS COURT ORDERS that:

(a)

(b)

effective upon Closing (or, in the case of any Undisclosed Patent Interests,
effective upon receipt by the Sellers or any successor or assign or any receiver,
trustee or liquidator appointed in respect of a Seller (or its Property as defined in
the Initial Order) of the applicable Exercise Price pursuant to Section 5.19 of the
Sale Agreement), all Government Entities maintaining records or data bases in
which the Encumbrances are recorded, filed or registered are authorized and
directed to strike such Encumbrances as they affect the Purchased Assets from

their records and data bases; and

if any Person or entity which has filed statements or other documents or
agreements evidencing Encumbrances affecting the Purchased Assets shall not
have delivered to the Applicants before the Closing (or, in the case of any
Undisclosed Patent Interests, effective upon receipt by the Sellers or any
successor or assign or any receiver, trustee or liquidator appointed in respect of a
Seller (or its Property) of the applicable Exercise Price pursuant to Section 5.19 of
the Sale Agreement) in proper form for filing and executed by the appropriate
parties, discharge statements, instruments of satisfaction, releases of liens and
easements, and any other documents necessary for the purpose of documenting
the release of all Encumbrances which the Person or entity has or may assert with
respect to the Purchased Assets, then the Applicants are each hereby authorized to
execute and file such statements, instruments, releases and other documents on

behalf of such Person or entity with respect to the Purchased Assets.

THIS COURT ORDERS that for the purposes of determining the nature and priority of
Claims and Encumbrances, the net proceeds from the sale of the Purchased Assets shall stand in

the place and stead of the Purchased Assets, and that from and after the delivery of the Monitor’s

Certificate (or, in the case of any Undisclosed Patent Interests, effective upon receipt by the

Sellers or any successor or assign or any receiver, trustee or liquidator appointed in respect of a

Seller (or its Property) of the applicable Exercise Price pursuant to Section 5.19 of the Sale

Agreement) all Claims and Encumbrances shall attach to the net proceeds from the sale of the

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Purchased Assets with the same priority as they had with respect to the Purchased Assets
immediately prior to the Closing (or in the case of Undisclosed Patent Interests immediately
prior to the date of the receipt of the Exercise Price), as if the Purchased Assets had not been sold
and remained in the possession or control of the person having that possession or control
immediately prior to the Closing (or in the case of Undisclosed Patent Interest(s) immediately

prior to the receipt of the Exercise Price).

9. THIS COURT ORDERS AND DIRECTS the Monitor to file with the Court a copy of
the Monitor’s Certificate, forthwith after delivery thereof.

10. THIS COURT ORDERS AND DECLARES that the Transaction Documents shall be
binding on the Applicants that are parties thereto, and shall not be repudiated, disclaimed or
otherwise compromised in these proceedings or any subsequent receivership, bankruptcy or

liquidation proceedings.

11. THIS COURT ORDERS AND DECLARES that, in the event that any Applicant or
any of their Affiliates owns any Undisclosed Patent Interest, no Applicant shall directly or
indirectly sell, transfer, assign, convey, license or sublicense such Undisclosed Patent Interest to
a Third Party, other than the Purchaser, including by operation of law, in any transaction, series
of related transactions or otherwise, except as expressly permitted by Section 5.19 of the Sale
Agreement, and any attempted sale, transfer, assignment, conveyance, license or sublicense not
expressly permitted by Section 5.19 of the Sale Agreement shall be null and void ab initio and of

no force or legal effect.

12. THIS COURT ORDERS that the Sale Agreement and the Transaction Documents and
any related agreements, documents or other instruments may be modified, amended, or
supplemented through a written document signed by the parties in accordance with the terms
thereof without further order of this Court; provided, however, that any such modification,
amendment or supplement is not materially adverse to the interests of the Applicants (it being
understood, for the sake of clarity and solely for the purposes of this paragraph, that no such
modification, amendment or supplement shall be deemed to be materially adverse to the

Applicants to the extent that the impact does not exceed two percent of the Purchase Price); and

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provided further that no such modifications, amendments, or supplements may be made except

following two (2) days written notice to, or with the prior consent of, the Monitor.

13. THIS COURT ORDERS AND DECLARES that the Applicants have complied with
the License Rejection Procedure approved by this Court in the Canadian Sales Process Order
dated @, 2011 (the “Sales Process Order”).

License Non-Assignment and Non-Renewal Protections

14. THIS COURT ORDERS that effective from and after Closing,

(a)

the Applicants shall be deemed to have affirmatively and reasonably refused to
give consent (including any consent of any Applicant that may be deemed to be
given as a result of inaction by such Applicant) to any renewal, extension,
assignment, amendment, waiver or modification of any license under the
Transferred Patents, Specified UK Patents or Jointly Owned Patents, pursuant to
any Cross-License Agreement or Outbound License Agreement (excluding (i) the
Commercial Licenses, (ii) the transition services agreements (the “TSAs’”) and
intellectual property license agreements (the “IPLAs”) that the Applicants entered
into with the purchasers of their various business units after the Petition Date in
connection with their divestitures, (iii) any intercompany Contracts with the
Sellers (the “Intercompany Licenses”) and (iv) the Technology License Contract
between Northern Telecom Limited and Guangdong-Nortel Telecommunications
Switching Equipment Ltd., dated November 8, 1994, as amended (the “GDNT
License”)) (collectively, the “License Agreements”, and any one, a “License
Agreement’) that requires the consent of any Applicant pursuant to the terms of
such License Agreement and that would have the practical effect of expanding the
scope or term of the licenses to the Transferred Patents, Specified UK Patents or
Jointly Owned Patents thereunder (regardless of whether such renewal, extension,
assignment, amendment, waiver or modification is sought prior to or after the
Applicants dissolve or otherwise cease to exist), in each case unless the Purchaser

shall otherwise agree in writing, in its sole discretion;

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(b) the Applicants shall be deemed to have affirmatively and reasonably refused to
give consent (including any consent of any Applicant that may be deemed to be
given as a result of inaction by such Applicant) (i) to any amendment,
modification or waiver to the GDNT License that would have the practical effect
of expanding the scope or the term of the licenses under the Transferred Patents,
Specified UK Patents or Jointly Owned Patents thereunder and (ii) to any
assignment of the GDNT License or any rights or obligations thereunder other
than to Ericsson (as defined in the Sale Agreement) or another purchaser of all or
substantially all of the assets or all of the outstanding shares of Guangdong Nortel
Telecommunication Equipment Company Ltd., in each case, unless the Purchaser

shall otherwise agree in writing, in its sole discretion,

(c) the Applicants shall be deemed to have affirmatively and reasonably refused to
give consent (including any consent of any Applicant that may be deemed to be
given as a result of inaction by such Applicant) (i) to any amendment or
modification to the IPLAs that would have the practical effect of expanding the
scope or the term of the licenses under the Transferred Patents, Specified UK
Patents or Jointly Owned Patents thereunder and (ii) to any assignment of any
IPLA by the license counterparty or any rights or obligations of the license
counterparty under any IPLA, in each case, unless the Purchaser shall otherwise

agree in writing, in its sole discretion,

(d) the Applicants shall be deemed to have affirmatively and reasonably refused to
give consent (including any consent of any Applicant that may be deemed to be
given as a result of inaction by such Applicant) to any amendment, modification,
renewal or extension to the TSAs that would have the practical effect of
expanding the scope or the term of the licenses under the Transferred Patents,
Specified UK Patents or Jointly Owned Patents thereunder beyond June 30, 2012

unless the Purchaser shall otherwise agree in writing, in its sole discretion,

(e) the Applicants shall be deemed to have affirmatively and reasonably refused to

give consent (including any consent of any Applicant that may be deemed to be

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